Case 1:23-cv-00369-NRM-RML Document 121 Filed 08/10/23 Page 1 of 1 PageID #: 2943

                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
                                                       271 Cadman Plaza East
                                                       Brooklyn, New York 11201

                                                       August 10, 2023
  By ECF
  Honorable Nina R. Morrison
  United States District Judge
  United States Courthouse
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:      United States of America v. Rare Breed Triggers, LLC, et al.
                         No. 23-cv-369 (Morrison, J.) (Levy, M.J.)

  Dear Judge Morrison:

         This Office represents the United States in the above-captioned action. On August 9,
  2023, the Court held a status conference to discuss “the possibility of consolidating last week’s
  preliminary injunction hearing with a final bench trial on the merits.” See Aug. 8, 2023 Minute
  Entry. The Court directed the parties to “confer and inform the Court by the end of the week
  whether they consent to proceeding this way.” Id. The parties have conferred, but have been
  unable to reach an agreement to proceed in this manner.

         The parties thank the Court for its consideration of this matter.

                                                       Respectfully submitted,
                                                       BREON PEACE
                                                       United States Attorney
                                               By:             /s/
                                                       Michael S. Blume
                                                       David A. Cooper
                                                       Paulina Stamatelos
                                                       Assistant U.S. Attorneys
                                                       (718) 254-6479 / 6228 / 6198
                                                       michael.blume@usdoj.gov
                                                       david.cooper4@usdoj.gov
                                                       pauline.stamatelos@usdoj.gov



  cc:    By ECF
         All counsel of record
